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lN THE UNITES STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF TENNESSEE, WESTERN DIVISION

GEORGE PHILLIPS,

Plaintiff,

 

VS. NO. 03 »24(}2-MIA
CDA INCORPORATED.

Defendant.

 

CONSENT ORDER DIRECTENG THE CLERK TO PAY MONEY TO
THE ATTORNEY FOR THE PLAINTIFF

 

The Court finds upon the motion of the parties, and by consent of the parties, that the

clerk may pay the funds on hand which are believed to be 315,862.95 to Barry W. Kuhn, attorney

for the Pla.intii"f, George Phillips.

IT lS SO ORDERED ADJUDGED AND DECREED.

<§./'/77;¥!?#4 @A.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE; 907/97 /a”,, 204§"

APPROVED BY: /M
HM/,/ '/

BA/RRY W KU "(7633)
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Honorable S. Anderson
US DISTRICT COURT

